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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                July 22, 2022
                                                                                        Nathan Ochsner, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JT BROTHER CONSTRUCTION, LLC,                    §
                                                 §
                       Plaintiff,                §
                                                 §
VS.                                              §     CIVIL ACTION NO. H-21-4205
                                                 §
                                                 §
                                                 §
TEXAS PRIDE TRAILERS, LLC,                       §
                                                 §
                       Defendant.                §

                                    ORDER OF DISMISSAL

        In accordance with the stipulation of voluntary dismissal, (Docket Entry No. 24), this action

is dismissed without prejudice.

               SIGNED on July 22, 2022, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        Chief United States District Judge
